                                   IN THE UNITED STATES DISTRICT COURT
                              FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                           CHARLOTTE DIVISION
                                  CIVIL ACTION NO. 3:21-CV-00508-MOC-DSC


               EARTHELL LATTA,                                )
                                                              )
                                 Plaintiff,                   )
                                                              )
               v.                                             )                   ORDER
                                                              )
               MARTIN MARIETTA MATERIALS                      )
               INC.,                                          )
                                                              )
                                Defendant.                    )



                      THIS MATTER is before the Court on the “Motion for Admission Pro Hac Vice and

              Affidavit [for Michael Allen Birrer]” (document #5) filed November 16, 2021. For the reasons set

              forth therein, the Motion will be granted.


                      The Clerk is directed to send copies of this Order to counsel for the parties and to the

              Honorable Max O. Cogburn, Jr.


                      SO ORDERED.


Signed: November 16, 2021




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